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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

SEC Civil Action No.: 1:19-cv-02594-RM-SKC
Avoidance Action No.:

UNITED STATES SECURITIES
AND EXCHANGE COMMISSION,

      Receivership Plaintiff,

v.

MEDIATRIX CAPITAL INC. et al.,

      Receivership Defendants,

and

MEDIATRIX CAPITAL FUND LTD et al.,

      Receivership Relief Defendants.

_____________________________________

MARK B. CONLAN, Receiver,

      Plaintiff,

v.

GUARDIAN GROUP and KARIBU
SANA FRIENDS OF THE CARMELITE
MISSIONS TX,


      Defendants.
                                        COMPLAINT
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       Mark B. Conlan, as the Court-appointed substitute receiver (“Receiver”), by and through

his undersigned attorneys, hereby alleges in support of this Complaint to avoid and recover certain

transfers against the entities identified on Exhibit A (“Defendants”) that:

                                  NATURE OF COMPLAINT

       1.      This Complaint seeks to avoid and recover from the Defendants, or from any other

person or entity for whose benefit a particular transfer was made, all fraudulent and preferential

transfers of property, made to or for the benefit of the Defendants, from accounts owned and/or

controlled by one or more of the “Receivership Defendants” or “Receivership Relief Defendants”

(identified/defined herein) during the four-year period preceding the filing of this Complaint

pursuant to the Colorado Uniform Fraudulent Transfer Act (“CUFTA”), C.R.S. § 38-8-101 et seq.,

and as extended further by the one-year-from-discovery provision pursuant to C.R.S. § 38-8-

110(1)(a), and/or other applicable law.

       2.      The Defendants received donations (together, “Transfers”), regardless of any

culpable intent, that constituted fruits of a fraudulent financial scheme to defraud investors, which

included,   among     other   things,     Ponzi-like   payments,   misrepresentations,   omissions,

misappropriation, and other fraudulent conduct that accelerated trading losses and saddled

investors with tens of millions of dollars in losses. (See Summaries of Transfers to each of the

Defendants, attached hereto as Exhibit B.)

       3.      The Receiver, as representative and fiduciary of the creditors of Mediatrix Capital,

Inc. and the other Receivership Defendants and Receivership Relief Defendants named in the

captioned SEC Civil Action No. 1:19-cv-02594-RM-SKC, and further described below, seeks to




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avoid, set aside, and recover the Transfers from the Defendants, as they received illicit proceeds

from the Receivership Defendants’ fraudulent scheme, to which they have no legitimate claim.




                                 JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction over this avoidance proceeding pursuant

to 28 U.S.C. §§ 754 and 1692; and pursuant to this Court’s Order Appointing Receiver in the

proceeding ancillary to this case, SEC v. Mediatrix Capital Inc., et al., No. 1:19-cv-02594-RM

(ECF No. 153).

       5.      Defendant Guardian Group, directly or indirectly, made use of the means or

instruments of transportation or communication in interstate commerce, the means and

instrumentalities of interstate commerce, or of the mails, in connection with the acts, practices,

and courses of business set forth in this Complaint, as Receivership Defendants conducted business

out of an office in Colorado, and Colorado investors and brokers transacted within Colorado.

       6.      Defendant Karibu Sana operates and has its principal place of business in the

District of Colorado. In addition, many of the acts, practices, transactions, and courses of business

alleged in this Complaint occurred within the District of Colorado.

       7.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the acts and

conduct that form the basis of the Receiver’s causes of action occurred when Receivership

Defendants fraudulently offered investments for sale from offices in Colorado and conducted

business of the “Funds” (defined/described herein), and transferred a portion of the proceeds

derived from the Receivership Defendants’ fraudulent activity to the Defendants.



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       8.      This Court has jurisdiction over this proceeding under 15 U.S.C. § 77v(a) and 15

U.S.C. § 78aa because the proceeding is ancillary to the case SEC v. Mediatrix Capital Inc., et al.,

presently pending before the United States District Court for the District of Colorado as Case No.

1:19-cv-02594-RM.

       9.      This Court also has jurisdiction over the Defendants because they purposefully

availed themselves of the benefits of this state by doing business in the State of Colorado such that

the United States District Court for the District of Colorado may exercise personal jurisdiction

over them.

                               BACKGROUND AND PARTIES

       10.     On September 12, 2019, the United States Securities and Exchange Commission

(“SEC”) brought an emergency enforcement action (the “SEC Complaint”), No. 1:19-cv-02594-

RM (D. Colo.), against Michael A. Young, Michael S. Stewart, and Bryant E. Sewall (the

“Individual Defendants”); and Mediatrix Capital Inc., Blue Isle Markets Inc., and Blue Isle

Markets Ltd. (the “Entity Defendants,” and together with the Individual Defendants, the

“Receivership Defendants”); and against Relief Defendants Mediatrix Capital Fund Ltd., Island

Technologies LLC, West Beach LLC, Salve Regina Trust, TF Alliance, LLC, Casa Conejo LLC,

Hase Haus, LLC, DCC Islands Foundation, Keystone Business Trust, Weinzel, LLC, The 1989

Foundation, Mediatrix Capital PR LLC, Mediatrix Capital, LLC, Blue Isle Markets Inc. (Cayman

Islands), Victoria M. Stewart, Maria C. Young, and Hanna Ohonkova Sewall (collectively, the

“Receivership Relief Defendants”).

       11.     The SEC Complaint alleges an “international trading program that placed at risk

more than $125 million of investors’ funds.” The SEC alleges that from March 2016 to the filing



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of the SEC Complaint, the Individual Defendants, through the Entity Defendants, “raised more than

$125 million from investors in unregistered securities offerings by representing to investors that

their money would be pooled and invested using [Receivership] Defendants’ allegedly highly

profitable algorithmic trading strategy. [Receivership] Defendants falsely claimed to investors that

from December 2013 through at least March 2019, their trading strategy had never had an

unprofitable month and had returned more than 1,600%. [Receivership] Defendants further claimed

that their highly successful trading strategy had enabled Mediatrix Capital to accumulate assets

under management of $225 million as of the end of 2018. None of this was true.”

       12.     The SEC Complaint further alleges that “[i]n reality, since mid-2016,

[Receivership] Defendants have misappropriated more than $35 million of investors’ money by

transferring it out of the Entity Defendants’ bank and brokerage accounts rather than using the

money for trading. [Receivership] Defendants used investors’ money to purchase luxury properties

and vehicles, and diverted more than $5 million of additional investors’ funds for other improper

expenditures to perpetuate the fraud.”

       13.     The SEC Complaint further alleges that “[e]ven when [Receivership] Defendants

used the remaining portion of investors’ money for trading, [Receivership] Defendants’ trading

consistently lost money – losing more than $18 million from its trading in 2018 alone. Because

of [Receivership] Defendants’ massive misappropriation and trading losses, Mediatrix Capital’s

assets under management are nowhere close to the amounts represented by [Receivership]

Defendants. For example, at year-end 2018, [Receivership] Defendants represented that Mediatrix

Capital had $225 million under management, when in reality, the firm had approximately $35.3

million in assets under management (less than 16% of the amount claimed).”



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       14.     Significantly, the SEC Complaint also alleges that “[t]o induce investment into their

failing trading strategy, [Receivership] Defendants defrauded investors by repeatedly

misrepresenting the profitability of their trading, falsifying investors’ account statements to show

phantom profits, and making Ponzi-like payments to investors who opted to cash out their ‘profits’

— all in order to prop-up the façade of profitable trading.”

       15.     The SEC Complaint continues, alleging that “[Receivership] Defendants made

numerous additional, material misrepresentations and omissions to investors regarding the

supposed transparency of Mediatrix Capital’s trading, as well as third party involvement in

verifying trading results. [Receivership] Defendants falsified investors’ account statements and

manipulated trading results to reflect profits rather than the actual losses resulting from their

trading. [Receivership] Defendants falsely claimed that Mediatrix Capital’s trading results had

been audited. [Receivership] Defendants also made numerous misleading statements implying

that Blue Isle 1 and Blue Isle 2 were independent, third-party administrators that received

Mediatrix Capital’s trading data directly from brokerage firms before reporting it to investors,

when in fact, [Receivership] Defendants owned and controlled the Blue Isle entities and

manipulated the trading data it conveyed to investors.”

       16.     The    SEC    Complaint     further    alleges   that   “[Receivership]   Defendants’

misrepresentations, omissions, and other fraudulent conduct had the same goal and effect: provide

investors with a false picture of trading profitability and a false sense of security, so as to induce

additional investment to perpetuate the fraud.             [Receivership] Defendants’ continued

misappropriation and accelerating trading losses have driven their fraud to the brink of collapse.




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Mediatrix Capital’s most recent bank and brokerage account records indicate that only a fraction

of investors’ funds remain, likely saddling investors with tens of millions of dollars in losses.”

       17.     The SEC Complaint “also named numerous [Receivership] Relief Defendants

because throughout the fraud, [Receivership] Defendants transferred millions of dollars of

investors’ money to spouses, other relatives, friends, and shell companies they owned or controlled

as well as to other parties receiving no consideration for any of those transfers. Each of the

[Receivership] Relief Defendants received illicit proceeds from [Receivership] Defendants’ fraud

to which they have no legitimate claim.”

       18.     The SEC Complaint alleges, inter alia, violations of the Securities Act of 1933, the

Securities Exchange Act of 1934, and the Investment Advisers Act 1940 and accordingly seeks,

inter alia, “disgorgement of all [Receivership] Defendants’ and [Receivership] Relief Defendants’

ill-gotten gains from the unlawful activity set forth in [the SEC] Complaint.”

                                              FACTS

       19.     The Individual Defendants, as equal partners, formed Mediatrix Capital Inc.

(“Mediatrix Capital”) in 2015 and jointly operated it to solicit investors to invest in their currency

trading program.

       20.     The Individual Defendants formed Blue Isle Markets Inc. (“Blue Isle 1”) to track

trades, provide support for their trading operations, provide an entity through which they could

assign account numbers to their investors, and to facilitate reporting fabricated account information

to investors in Mediatrix Capital.




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       21.     In approximately April 2019, Blue Isle Markets Ltd. (“Blue Isle 2”) acquired all

the assets of Blue Isle 1 and, on information and belief, Blue Isle 2 performed the same function

as Blue Isle 1. (Blue Isle 1 and Blue Isle 2 are collectively referred to herein as “Blue Isle”).

       22.     From March 2016 through approximately September 2019, Mediatrix Capital and

the Individual Defendants made two related securities offerings: the Managed Account Foreign

Exchange Funds (“MAFEF”); and the Mediatrix Capital Fund Ltd. (“The Fund”) (collectively, the

“Funds”).

       23.     The Receivership Defendants offered investments through the MAFEF, whereby

investors’ monies would be pooled and traded according to the Receivership Defendants’

purported algorithmic trading strategy in foreign currency markets.

       24.     The Individual Defendants created The Fund, whereby investors’ monies would be

pooled and “invest[ed] in securities, derivatives and other instruments to establish long and short

investment exposures around the world.” Mediatrix Capital was the investment adviser to The

Fund and made recommendations and investments of securities on behalf of The Fund. The

Individual Defendants jointly controlled Mediatrix Capital and thus acted as advisers to The Fund,

as well. Mediatrix Capital and the Individual Defendants solicited investors to purchase shares in

The Fund (i.e., securities).

       25.     Unbeknownst to investors, the Receivership Defendants pooled all monies from

these Funds and transferred large portions (those portions that were not immediately

misappropriated and diverted to the Individual Defendants themselves) into further pooled

accounts at prime brokerage firms (the “Blue Isle Brokerage Accounts”).




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       26.     Through their materially false and misleading statements, omissions, and

fraudulent conduct, the Receivership Defendants raised over $125 million from Fund investors to

operate the fraud, despite approximately 75% of investor monies having been misappropriated,

lost in trading, or improperly spent to perpetuate the fraud.

       27.     The Receivership Defendants used multiple offering documents to offer and sell

these securities. The Individual Defendants jointly prepared, reviewed, and disseminated to

investors and prospective investors all of the offering materials provided to the Funds’ investors.

       28.     The Receivership Defendants have solicited investors in the United States and

abroad. Following solicitation, investors have invested tens of millions of dollars with Mediatrix

Capital through the Funds, including investments through self-directed IRA accounts.

       29.     As alleged herein, the Receivership Defendants misappropriated a portion of the

funds invested in the Funds before those monies were transferred to the Blue Isle Brokerage

Accounts or used for trading. However, the majority of investor money invested in the Funds was

ultimately pooled into the Blue Isle Brokerage Accounts to be traded using the Receivership

Defendants’ purported algorithmic trading strategy in foreign currency markets.

       30.     After the investors’ monies were sent to and pooled into a Blue Isle bank account,

the Individual Defendants did one of the following: (a) immediately misappropriated the money

by diverting it to themselves and various non-trading entities they own and control and to third

parties like the Defendants; (b) improperly spent the money on fees for sales representatives or

other expenses to perpetuate the fraud; or (c) transferred the money to the Blue Isle Brokerage

Accounts to be traded at a prime brokerage firm.                The Individual Defendants either

misappropriated or improperly spent over $40 million of the approximately $125 million invested.



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         31.    The Blue Isle Brokerage Accounts, into which Fund investments were commingled,

 are not so-called “omnibus” accounts whereby brokerage firms maintain an aggregate account for

 an institutional customer, with subaccount designations denoting the funds of numerous of the

 institutional customer’s underlying clients. Rather, the Blue Isle Brokerage Accounts were only

 in Blue Isle’s name and did not have any subaccounts on their books for individual investors in

 the Funds. The individual investors were not customers at the prime brokerage firms, and the

 prime brokerage firms did not maintain any information regarding the individual investors.

         32.    All investor monies in the Funds were pooled. Fund investors were not provided

 access to the Blue Isle Brokerage Accounts where the actual trading took place and the assets were

 held.

         33.    MAFEF investors were given an account number at Blue Isle, not at the prime

 brokerage firms. MAFEF investors received online access to their purported accounts showing

 their investment amount and purported trading profits, which were actually just numerical

 representations—manipulated by the Receivership Defendants.

         34.    Blue Isle also emailed the MAFEF investors daily and monthly account statements

 showing their purported ending balance, along with commissions and any performance fees

 charged. These statements generally showed profits from trading in the accounts, ever increasing

 account balances, and the withdrawal of monthly performance fees based on the purportedly

 successful trading.

         35.    Investors in The Fund did not have access to The Fund at Blue Isle, nor could they

 access the actual Blue Isle Brokerage Accounts. Instead, investors in The Fund received monthly

 statements from The Fund’s administrator that set forth the amount of The Fund shares owned by



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 the investor, the net asset value (NAV) per share, the value of the shares at the end of the month,

 and the return for the month. As with the MAFEF account statements, The Fund statements

 generally showed consistent profits.

        36.     Regardless of whether an investor invested through the MAFEF or The Fund, other

 than monies that were misappropriated or diverted elsewhere, the Receivership Defendants

 ultimately commingled and pooled investor monies into the Blue Isle Brokerage Accounts. The

 Receivership Defendants then implemented one combined investment strategy for the Funds: a

 purported fully automated algorithmic trading program where a group of nine algorithms trade up

 to thirty (30) current pairs plus gold. The Receivership Defendants then provided Fund investors

 with false and fraudulent account statements reflecting their investment had grown through profits

 from the underlying trades.

        37.     When trading Fund investors’ money held in the Blue Isle Brokerage Accounts, the

 Receivership Defendants traded those funds in an undifferentiated fashion without respect to the

 ownership of those funds or the strategy of any particular investor. Specifically, in implementing

 one combined investment strategy, the Receivership Defendants did not trade specific investors’

 accounts according to their individualized trading objectives, suitability, or desired risk profile.

 The Receivership Defendants did not customize trades for specific investors by limiting asset

 classes, holding duration, or other technical parameters. Only after completing the trading did the

 Receivership Defendants assign closed trades to individual investors and the Funds. Because of

 the Receivership Defendants’ pooling of all investor funds, losing open positions impacted all

 investors equally until closed. In many instances, the Receivership Defendants held losing

 positions for months or years. Similarly, closed positions had an equal impact on all investors



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 until the Receivership Defendants made an after-the-fact decision to allocate profits or losses from

 a specific trade to a particular Blue Isle account number.

         38.       The Receivership Defendants’ purported fully automated algorithmic trading was

 not profitable but rather resulted in substantial losses.

         39.       The Blue Isle Brokerage Accounts, which held investments from both of the Funds,

 incurred monthly losses for at least twenty-four (24) months between March 2016 and April 2019,

 which ranged from negative $81,000 to several million in those months.

         40.       In fact, the Blue Isle Brokerage Accounts reflected an aggregate profit only in the

 first month of trading in March 2016, where it profited by $575, and two months later in May

 2016, when there was an aggregate three-month profit of approximately $353,000.

         41.       After May 2016, the Blue Isle Brokerage Accounts never again attained an

 aggregate profit. Or, put another way, gains in the Blue Isle Brokerage Accounts that were attained

 during any one particular month were never high enough to make up for the losses incurred during

 earlier months.

         42.       From March 2016 through April 2019, the Blue Isle Brokerage Accounts incurred

 aggregate trading losses of approximately $19 million.

         43.       The Receivership Defendants did not disclose these losses to investors in the Funds

 and, moreover, actively concealed these losses in order to fraudulently acquire new investors and

 induce new investors from existing investors.

         44.       The Receivership Defendants, through Blue Isle, provided Fund investors with

 account statements that generally reflected positive month-to-month trading performance and




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 steadily increasing account balances that tracked Mediatrix Capital’s advertised positive

 performance figures.

         45.     These statements were false and did not reflect the actual trading or losses in the

 Blue Isle Brokerage Accounts, nor did they reflect the true balance in the investors’ accounts. The

 Blue Isle Brokerage Account records show trades reflecting significant losses were allocated to

 accounts in Mediatrix Capital’s name. On information and belief, the Receivership Defendants

 selectively allocated profitable trades (only within the Blue Isle software system) to the Fund

 investors’ accounts to make it appear as though the overall trading was successful. At the same

 time, the Receivership Defendants concealed large losing positions by nominally allocating the

 losses to supposed proprietary accounts, which exist only “on paper” in the Blue Isle software

 system.

         46.     In raising funds for the Funds, the Receivership Defendants made numerous

 material false and misleading statements and omissions regarding, among other things, the

 profitability of trading, the amount of assets under management, the length of trading history, the

 use of investor proceeds, fees and costs, the auditing of the Funds, the transparency and access to

 information provided to investors and the Individual Defendants’ affiliation with and control over

 related entities.

         47.     Accordingly, each of the Defendants received the Transfers, which constituted

 proceeds from the Receivership Defendants’ fraudulent activity, for which they provided no

 reciprocal goods or services, and to which they have no legitimate claim. As a result, the Transfers

 should be returned to the Receiver for the benefit of the receivership estate.




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                            THE RECEIVER’S INVESTIGATION

        48.     On October 20, 2021, this Court granted the SEC’s Unopposed Motion for

 Appointment of a Substitute Receiver (ECF No. 283), requesting an Order substituting Mark B.

 Conlan of Gibbons P.C. as receiver in the underlying SEC enforcement action, to function under

 the terms and conditions of the existing Order Appointing Receiver (ECF No. 153) over the assets

 of Receivership Defendants and Receivership Relief Defendants (“Receiver Order”).

        49.     The SEC Complaint, which commenced the underlying SEC enforcement action,

 alleged that the Receivership Defendants operated a fraudulent investment scheme and concluded

 that the Receivership Defendants made Ponzi-like payments to investors seeking redemption (the

 “Net Winners”), whereby the Receivership Defendants disguised other investors’ monies as

 trading profits, in the face of staggering losses, to maintain the appearance of a profitable

 enterprise.

        50.     This Complaint covers the Transfers by the Receivership Defendants to the

 Defendants.

        51.     The Receiver’s investigation has revealed that many investors, after receiving the

 account statements reflecting phantom trading profits from the Receivership Defendant-run Funds

 opted to leave their money invested with those the Funds, some have invested additional monies

 with the Funds, and other investors received back more than the dollar amount than they invested.

 The documents the Receiver and his retained professionals reviewed in the course of his

 investigation reflect that the Receivership Defendants’ investors were promised returns based on

 the value of their investments, which was not an accurate representation of the true value of their

 investments. Although the financial statements of the Funds that the Receiver reviewed generally



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 showed consistent profits, after May 2016, the Funds never actually attained an aggregate profit.

 Indeed, from March 2016 through April 2019, the Funds incurred approximately $19 million in

 aggregate trading losses. Accordingly, the Receiver can only conclude that the Net Winners were

 paid fictitious returns.

         52.     The Defendants received in excess of $400,000 in Transfers from the Receivership

 Defendants.     Based on his investigation to date, the Receiver alleges that those Transfers

 constituted proceeds of a Ponzi-type scheme concocted by the Receivership Defendants and are

 therefore voidable. Section 38-8-110(1)(a) of CUFTA provides that a plaintiff, such as the

 Receiver, has a one-year tolling/discovery period during which to investigate and bring claims

 such as those asserted herein, so that the Receiver’s time to assert claims for fraudulent transfers

 made during the four-year lookback period set forth in the CUFTA is extended until, at a minimum,

 one year after the Receiver’s appointment or October 20, 2021.

                                     COUNT ONE
      (Avoidance and Recovery of Fraudulent Transfers as Actual Fraudulent Transfers
                          Pursuant to C.R.S. § 38-8-101 et seq.)

         53.     The Receiver incorporates by reference paragraphs 1 through 52, above, as though

 set forth herein in full.

         54.     The Transfers to the Defendants were made with the Receivership Defendants’

 actual intent to hinder, delay, or defraud creditors of the Receivership Defendants because the

 Transfers constituted proceeds of the Receivership Defendants’ ongoing fraudulent scheme and

 the Receivership Defendants knew that, by making those Transfers, the Receivership Defendants

 put them beyond the control of their rightful owners, as well as legitimate creditors.




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        55.     The Receivership Defendants knew of the dependence on new investor money to

 provide cash for operations and to fund payments to prior investors.

        56.     The Receivership Defendants knew: (i) that the Receivership Defendants’ assets

 were impaired; (ii) that the Receivership Defendants failed to record appropriate reserves for such

 impairment; and (iii) that their assets were therefore overvalued.

        57.     The Receivership Defendants knew that the purported automated algorithmic

 trading program was not profitable but rather resulted in substantial losses.

        58.     The Receivership Defendants did not disclose these losses to investors in the Funds

 and, moreover, actively concealed these losses in order to fraudulently acquire new investors and

 induce new investments from existing investors.

        59.     Account statements from the Funds generally reflected positive month-to-month

 trading performance and steadily increasing account balances that tracked Mediatrix Capital’s

 advertised positive performance figures. However, these statements were false and did not reflect

 the actual trading or losses in the Blue Isle Brokerage Accounts, nor did they reflect the true

 balance in the investors’ accounts.      And although the Receivership Defendants selectively

 allocated profitable trades to investors’ accounts to make it appear as though overall trading was

 successful, the Receivership Defendants concealed large losing positions by nominally allocating

 the losses to supposed proprietary accounts, which existed only “on paper.”

        60.     The Receivership Defendants also made Ponzi-like payments by using investor

 money to meet redemption requests by other investors in order to conceal that the Receivership

 Defendants’ trading had not returned profits, but rather resulted in large losses.




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         61.     The Transfers to the Defendants were therefore knowingly made out of the

 proceeds of the Receivership Defendants’ fraudulent scheme, which continued to defraud investors

 by repeatedly misrepresenting the profitability of their trading, falsifying investors’ account

 statements to show phantom profits, and making Ponzi-like payments to investors who opted to

 cash out—all in order to prop up the façade of profitable trading. In other words, the Receivership

 Defendants made the Transfers with the actual knowledge that: (i) the Transfers constituted

 proceeds of their ongoing fraudulent scheme; (ii) they had no right to the funds constituting the

 Transfers; and (iii) they were depriving the lawful owners of the possession of those funds.

         62.     The Receiver could not and did not have knowledge of the Transfers until, at least,

 before October 20, 2021, the day of his appointment.

         63.     As a result of the foregoing, the Receiver is entitled to a judgment: (i) avoiding and

 preserving the Transfers; (ii) directing that the Transfers be set aside; and (iii) recovering the

 Transfers, or the value thereof, from the Defendants for the benefit of the receivership estate.

                                    COUNT TWO
  (Avoidance and Recovery of Fraudulent Transfers as Constructive Fraudulent Transfers
                         Pursuant to C.R.S. § 38-8-101 et seq.)

         64.     The Receiver incorporates by reference paragraphs 1 through 63, above, as though

 set forth herein in full.

         65.     The Receiver may recover the Transfers for the benefit of the receivership estate

 from the Defendants because the Transfers were made to the Defendants without the Defendants

 giving reasonably equivalent value to the Receivership Defendants in exchange for the Transfers.

         66.     It is well-established that investors in Ponzi schemes, including where Ponzi-like

 payments of the type alleged herein are made, do not exchange reasonably equivalent value for



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 payments which exceed the investor’s investments. This is because such profits are fictitious and

 do not represent returns on legitimate investments.

         67.     Even where the investor had no actual knowledge and did not participate in the

 fraud, that investor is required to return the fictitious profits.

         68.     Having been made out of proceeds of fraudulent activity, the Transfers to the

 Defendants are similarly subject to avoidance, even if the Defendants had no actual knowledge of

 and did not participate in the Receivership Defendants’ fraudulent scheme.

         69.     Because they were paid out of proceeds of the Receivership Defendants’ fraudulent

 and Ponzi-like scheme, the Transfers were paid to the Defendants in connection with that scheme

 and without conferring any benefit on either the receivership estate or the defrauded investors in

 the Receivership Defendants’ fraudulent and Ponzi-like scheme.

         70.     The Transfers are therefore avoidable by the Receiver under C.R.S. § 38-8-101 et

 seq. generally, and by C.R.S. § 38-8-105(1)(b) specifically, and pursuant to Colorado common law

 on fraudulent conveyances.

         71.     The Receiver could not and did not have knowledge of the Transfers, at least, before

 October 20, 2021, the day of his appointment.

         72.     The Receiver may therefore recover the Transfers for the benefit of the receivership

 estate from the Defendants.




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                                         COUNT THREE
                                       (Unjust Enrichment)

         73.     The Receiver incorporates by reference paragraphs 1 through 72, above, as though

 set forth herein in full.

         74.     The Receivership Defendants conferred a benefit on the Defendants by way of the

 Transfers.

         75.     As a direct and proximate result of the Defendants’ retention of the Transfers, the

 Receivership Defendants and the receivership estate have been diminished and, under the

 circumstances, equity dictates that the Defendants should return the Transfers and any assets they

 may have acquired with those funds, to the Receiver for the benefit of all of the defrauded investors

 and the receivership estate.

         76.     When the Receivership Defendants made the Transfers to the Defendants, they did

 so from the proceeds of a Ponzi-type scheme concocted by the Receivership Defendants.

         77.     The Defendants were enriched as a result of receiving the Transfers described in

 this Complaint by receiving something of value that belonged to the receivership estate.

         78.     These enrichments violate equity and good conscience.

         79.     These enrichments did not result from enforceable agreements between the

 Receivership Defendants and the Defendants.

         80.     The Defendants were therefore unjustly enriched.

         81.     The Transfers to the Defendants came at the expense of the receivership estate and

 the investors the Receivership Defendants defrauded.

         82.     The Receiver could not and did not have knowledge of the Transfers until, at least,

 before October 20, 2021, the day of his appointment.


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        83.     By reason of the foregoing, the Defendants should be compelled by this Court to

 make restitution to the Receiver in the amount of the Transfers.

                                      PRAYER FOR RELIEF

        WHEREFORE, the Receiver requests that the Court enter relief and judgment in his favor

 and against the Defendants, as follows:

                a)     declaring that the Transfers are avoided and set aside as fraudulent transfers

    pursuant to CUFTA;

                b)     directing and ordering that any Transfers avoided be preserved for the

    benefit of the receivership estate pursuant to the Receiver Order;

                c)     directing and ordering that each of the Defendants, or any immediate or

    mediate transferee of each of the Defendants, turnover to the Receiver the full amount of or

    value of the Transfers;

                d)     awarding judgment against each of the Defendants and in favor of the

    Receiver in an amount equal to:

                           1. the full amount of the Transfers (and any other avoided transfers

                               discovered after the date of this Complaint) made to each of the

                               Defendants;

                           2. pre-judgment interest at the maximum legal rate running from the

                               date of the Transfers until the date of judgment herein;

                           3. post-judgment interest at the maximum legal rate running from the

                               date of judgment herein until the date the judgment is paid in full;

                               and



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                         4. attorneys’ fees and costs incurred by the Receiver in this suit;

              e)     compelling each of the Defendants to make restitution to the Receiver in the

   amount that they were unjustly enriched by the Transfers; and

              f)     such other and further relief as this Court may deem necessary and proper

   under the circumstances.




                                                Respectfully submitted,

  Dated: August 31, 2022                        GIBBONS P.C.


                                                By: /s/ David N. Crapo
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                                                     Counsel to Mark B. Conlan, as Receiver




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                                   EXHIBIT A

       Defendant Name                                   Address

 Guardian Group               1900 NE3rd Street
                              Suite 106#40
                              Bend, OR 97701
                              ATTN: Jeffrey D. Keith

 Karibu-Sana Friends of the   15530 E Broncos Parkway
 Carmelite Missions TZ        Suite 300
                              Englewood, CO 80112
                              ATTN: Carla Little




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                                 EXHIBIT B

 Date of Payment          Recipient                Amount of Payment

  3/11/2019               Guardian Group           $5,000

  11/13/2017              Guardian Group           $1,000

  5/2/2017                Guardian Group           $961

  2/7/2018                Guardian Group           $10,000

  3/5/2018                Guardian Group           $10,000

  4/2/2018                Guardian Group           $10,000

  5/3/2018                Guardian Group           $10,000

  6/4/2018                Guardian Group           $10,000

  7/3/2018                Guardian Group           $10,000

  8/3/2018                Guardian Group           $10,000

   9/4/2018               Guardian Group           $10,000

  10/3/2018               Guardian Group           $10,000

  11/5/2018               Guardian Group           $10,000

  12/3/2018               Guardian Group           $10,000

  12/3/2018               Guardian Group           $10,000

   1/3/2019               Guardian Group           $10,000

  2/4/2019                Guardian Group           $10,000

  11/16/2017              Guardian Group           $10.00

   6/2/2017               Guardian Group           $10,000




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   7/3/2017               Guardian Group               $10,000

   8/7/2017               Guardian Group               $10,000

   9/11/2017              Guardian Group               $10,000

   11/6/2017              Guardian Group               $10,000

  12/4/2017               Guardian Group               $10,000

  12/4/2017               Guardian Group               $4,100

  1/8/2018                Guardian Group               $10,000

  4/12/2018               Guardian Group               $50,000

                                             TOTAL: 271,071



 11/17/2018               Karibu Sana Friends of the   $30,000
                          Carmelite Missions TZ
 1/25/2019                Karibu Sana Friends of the   $25,000
                          Carmelite Missions TZ
 9/29/2016                Karibu Sana Friends of the   $2,000
                          Carmelite Missions TZ
 12/21/2016               Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 1/26/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 2/21/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 3/16/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 4/24/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 5/18/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 8/17/2017                Karibu Sana Friends of the   $400
                          Carmelite Missions TZ
 1/17/2018                Karibu Sana Friends of the   $5,250
                          Carmelite Missions TZ



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 4/5/2018                 Karibu Sana Friends of the $25,000
                          Carmelite Missions TZ
 6/5/2017                 Karibu Sana Friends of the $50,000
                          Carmelite Missions TZ
                                             TOTAL: $140,050




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